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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                                                                 3:25-cv-615
Michael Wise, on behalf of himself and all             Case No. __________________
others similarly situated,
                                                      CLASS ACTION
                               Plaintiff,             DEMAND FOR JURY TRIAL
        v.

YALE NEW HAVEN HEALTH SYSTEM


                               Defendant.




                                CLASS ACTION COMPLAINT

        Plaintiff Michael Wise (“Plaintiff”), on behalf of himself and all others similarly situated,

brings this Class Action Complaint (the “Action”) against the above-captioned Defendant, Yale

New Haven Health System (“YNHHS” or “Defendant”), and alleges upon personal knowledge as

to himself and his own actions, and upon information and belief as to all other matters, as follows:

   I.        NATURE OF THE ACTION

        1.     Plaintiff brings this class action against YNHHS for its failure to secure and

safeguard personally identifiable information of numerous former and current YNHHS patients

and consumers.

        2.     On March 11, 2025, YNHHS announced that a cybersecurity incident had occurred

affecting its information technology systems.         Subsequently, on April 11, 2025, YNHHS

announced that its investigation revealed that an unauthorized third party had gained access to its

network and, on March 8, 2025, had obtained copies of certain patient data (the “Data Breach”).


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          3.     The data involved varies by patient, but includes, depending on the patient, patients’

name, date of birth, address, telephone number, email address, race or ethnicity, social security

number, patient type, and/or medical record number (collectively, the “PII”).

          4.     YNHHS, as a substantial healthcare enterprise, had the resources to take seriously

the obligation to protect private information. However, it failed to invest the resources necessary

to protect the PII of Plaintiff and Class members.

          5.     The actions of YNHHS related to this Data Breach are alarming. Upon information

and belief, it failed to implement practices and systems to mitigate against the risks posed by its

negligent IT practices. As a result of these failures, Plaintiff and Class members face a litany of

harms that accompany data breaches of this magnitude and severity.

          6.     As such, Plaintiff, on behalf of himself and all others similarly situated, brings this

Action for restitution, actual damages, nominal damages, statutory damages, injunctive relief,

disgorgement of profits and all other relief that this Court deems just and proper.

    II.        JURISDICTION AND VENUE

          7.     This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1332(d). The amount of controversy exceeds

the sum or value of $5,000,000 exclusive of interests and costs, there are more than 100 putative

Class members, and minimal diversity exists because one or more putative Class members are

citizens of a different state than Defendant.

          8.     This Court has personal jurisdiction over YNHHS because it maintains its principal

place of business and operations in New Haven, Connecticut, and because it intentionally availed

itself of this jurisdiction by providing services in this District.




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           9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because YNHHS’

principal place of business is in New Haven, Connecticut, and because YNHHS operates

extensively in this District and because a substantial part of the events, acts and omissions giving

rise to Plaintiff’s claims occurred in this District.

    III.         PARTIES

           Plaintiff

           10.     Plaintiff Michael Wise is a citizen and resident of the state of Connecticut. Plaintiff

Wise is a longtime patient of YNHHS. Most recently, Plaintiff Wise experienced fraudulent

activity on his debit card account, as a fraudulent unauthorized attempt to use the card at a gas

station was flagged.

           Defendant Yale New Haven Health System

           11.     Defendant YNHHS is a healthcare system with its principal place of business in

New Haven, Connecticut. YNHHS is the largest and most comprehensive healthcare system in

Connecticut. Among other facilities, YNHHS operates five hospitals located across Connecticut.

    IV.          FACTUAL ALLEGATIONS

           A. Defendant’s Businesses and Collection of Private Information

           12.     In the course of doing business, YNHHS acquires a significant amount of highly

sensitive and valuable private information from prospective and current patients and consumers,

including the acquisition of the PII of Plaintiff and Class members.

           13.     As a condition of receiving this PII, Plaintiff and Class members entrusted that

YNHHS would only use their data for business purposes in a manner that was safe and secure.

           14.     By obtaining, collecting, using, and deriving a benefit from Plaintiff and Class

members’ PII, YNHHS assumed legal and equitable duties and knew or should have known that




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it was responsible for ensuring the safety and security of Plaintiff and Class members’ PII and to

protect such PII from unauthorized disclosure and exfiltration.

       15.     Plaintiff and Class members relied on YNHHS to keep their PII confidential and

only to make authorized disclosures of this PII, which YNHHS failed to do.

       B. The Data Breach

       16.     As noted, on March 8, 2025, a threat actor obtained the PII of Class members.

       17.     Not only do Class members have to contend with the harms caused by the Data

Breach, but Defendant’s response has been woefully insufficient.

       18.     On information and belief, the PII compromised in the files accessed by the threat

actor was not encrypted. This can also be inferred given that the hackers were able to access the

PII listed above.

       19.     The removal of PII from YNHHS’ systems demonstrates that this cyberattack was

targeted due to YNHHS’ status as a well-known healthcare system that houses sensitive PII.

Armed with this PII, data thieves (as well as downstream purchasers of the stolen PII), can commit

a variety of crimes, including: opening new financial accounts in Class members’ names, taking

out loans in Class members’ names, using Class members’ information to obtain government

benefits, filing fraudulent tax returns using Class members’ tax identification information,

obtaining driver’s licenses in Class members’ names but with a different photograph, and giving

false information to police during an arrest.

       20.     Due to YNHHS’ flawed security measures and its incompetent response to the Data

Breach, Plaintiff and Class members now face a present, substantial, and imminent risk of fraud

and identity theft and must deal with that threat forever.




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       21.     Despite widespread knowledge of the dangers of identity theft and fraud associated

with cyberattacks and unauthorized disclosure of PII, and despite YNHHS’ large operating budget,

it provided unreasonably deficient protections prior to the Data Breach, including but not limited

to a lack of security measures for storing and handling PII, as well as inadequate employee training

regarding how to access, oversee the protection of, and handle and safeguard this sensitive set of

information.

       22.     YNHHS failed to adequately adopt and train its employees on even the most basic

of information security protocols, including storing, locking, encrypting and limiting access to

current and former consumers and employees’ highly sensitive PII; implementing guidelines for

accessing, maintaining, and communicating sensitive PII; and protecting sensitive PII by

implementing protocols on how to utilize such information.

       23.     YNHHS’ failures caused the unpermitted disclosure of Plaintiff’s and Class

members’ PII to an unauthorized third-party cybercriminal and put Plaintiff and Class members at

serious, immediate, and continuous risk of identity theft and fraud.

       24.     The Data Breach that exposed Plaintiff’s and Class members’ PII was caused by

YNHHS’ violation of its obligations to abide by best practices and industry standards concerning

its information security practices and processes.

       25.     YNHHS, despite being a technologically advanced organization, failed to comply

with basic security standards or to implement security measures that could have prevented or

mitigated the Data Breach.

       26.     YNHHS failed to ensure that all personnel with access to its current/former actual

and prospective students’ PII were properly trained in retrieving, handling, using and distributing

sensitive information. This means that personnel are trained to apply relevant updates and software




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patches, as YNHHS should have done here. Further, there have been no assurances offered by

YNHHS that all personal data or copies of the PII at issue were either recovered, destroyed, or

otherwise protected by an enhanced data security protection apparatus.

       C. The Data Breach Was Foreseeable

       27.     YNHHS has weighty obligations created by industry standards, common law, and

its own promises and representations to keep PII confidential and to protect from unauthorized

access and disclosure.

       28.     Plaintiff and Class members provided their PII to YNHHS with the reasonable

expectation and mutual understanding that it would comply with its obligations to keep such

information confidential and secure from unauthorized access.

       29.     YNHHS’ data security obligations were particularly acute given the substantial

increase in ransomware attacks and/or data breaches in various industries – especially including

healthcare systems and hospitals – preceding the date of the Data Breach.

       30.     YNHHS was aware of the risk of data breaches because such breaches have

dominated the headlines in recent years.

       31.     PII, like the PII targeted by the hackers in this Action, is of great value to hackers

and cybercriminals, and the data compromised in the Data Breach can be used in a variety of

unlawful manners. PII can be used to distinguish, identify or trace an individual’s identity. This

can be accomplished alone or in combination with other personal or identifying information that

is connected or linked to an individual, such as the information compromised in the Data Breach.

       32.     Given the nature of the Data Breach, it is foreseeable that the compromised PII can

be used by hackers and cybercriminals in a variety of different ways.




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         33.   Cybercriminals who possess Class members’ PII can (in tandem with other

information) obtain Class members’ tax returns or open fraudulent credit card or other types of

accounts in Class members’ names.

         34.   The increase in such attacks, and attendant risk of future attacks, was widely

known.

         35.   As such, this specific Data Breach was foreseeable. Defendant was cognizant of

data breaches because of how common and high-profile data breaches have become with respect

to healthcare systems and hospitals, such as YNHHS.

         D. Defendant Failed to Follow FTC Guidelines and Industry Standards

         36.   Experts studying cybersecurity routinely identify businesses as being particularly

vulnerable to cyberattacks because of the value of the data which they collect and maintain. The

reason this data is so valuable is because it contains PII, which can be sold and weaponized for

purposes of committing various identity theft-related crimes. It is well-known that, because of the

value of this data and PII, businesses that collect, store, maintain, and otherwise utilize or profit

from PII must take necessary cybersecurity safeguards to ensure that the data they possess is

adequately protected.

         37.   Government agencies also highlight the importance of cybersecurity practices. For

example, the Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

         38.   According to the FTC, the need for data security should be factored into all business

decision-making.

         39.   In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses.




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       40.     The guidelines note that businesses should protect the personal information that

they keep; properly dispose of personal information that is no longer needed; encrypt information

stored on computer networks; understand its network’s vulnerabilities; and implement policies to

correct any security problems.

       41.     The guidelines also recommend that businesses use an intrusion detection system

to detect and expose a breach as soon as it occurs; monitor all incoming traffic for activity

indicating someone is attempting to hack the system; watch for large amounts of data being

transmitted from the system; and have a response plan ready in the event of a breach.

       42.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

       43.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, in some cases treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to confidential data as

an unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”),

15 U.S.C. § 45. Orders resulting from these actions further explicate and clarify the measures

businesses must take to meet their data security obligations.

       44.     Defendant failed to properly implement some or all of these (and other) basic data

security practices.




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        45.        Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to PII constitutes an unfair act or practice prohibited by Section 5 of

the FTC Act, 15 U.S.C. § 45.

        46.        Defendant at all times was fully aware of obligations to protect PII. Defendant was

also keenly aware of the significant repercussions that would result from the failure to do so.

        47.        Experts studying cyber security routinely identify consumer-facing businesses

(such as YNHHS) being particularly vulnerable to cyberattacks because of the value of the PII

which they collect and maintain.

        48.        Several best practices have been identified that, at a minimum, should be

implemented by healthcare systems and hospitals such as YNHHS, include but are not limited to:

educating all employees about cyber security; requiring strong passwords; maintaining multi-layer

security, including firewalls, anti-virus, and anti-malware software; utilizing encryption; making

data unreadable without a key; implementing multi-factor authentication; backing up data; and

limiting which particular employees can access sensitive data.

        49.        Other best cybersecurity practices that are standard in the industry include installing

appropriate malware detection software; monitoring and limiting network ports; protecting web

browsers and email management systems; setting up network systems such as firewalls, switches

and routers; monitoring and protection of physical security systems; and training staff regarding

critical points.

        50.        These foregoing frameworks are existing and applicable industry standards.

YNHHS failed to comply with these accepted standards, thereby opening the door to and causing

the Data Breach.




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       E. Defendant’s Breaches of Its Obligations

       51.      Defendant breached its obligations to Plaintiff and Class members and was

otherwise negligent and/or reckless because Defendant failed to properly maintain, oversee and

safeguard its computer systems, network and data. In addition to its obligations under federal and

state law, Defendant owed a duty to Plaintiff and Class members to exercise reasonable care when

obtaining, retaining, securing, safeguarding, deleting, and protecting the PII in its possession from

being compromised, lost, stolen, accessed or misused by unauthorized persons. Defendant owed

a duty to Plaintiff and Class members to provide reasonable security, including complying with

industry standards and requirements, training for its staff and ensuring that its computer systems,

networks, and protocols adequately protected the PII of Plaintiff and Class members.

       52.      Defendant’s wrongful conduct includes, but is not limited to, the following acts

and/or omissions:

             a. Failing to maintain an adequate data security system to reduce the risk of data

                breaches and cyber-attacks;

             b. Failing to adequately protect current or former consumers’ PII;

             c. Failing to implement updates and patches in a timely manner;

             d. Failing to properly monitor third-party data security systems for existing intrusions,

                brute-force attempts and clearing of event logs;

             e. Failing to ensure that all employees and third-parties apply all available and

                necessary security updates;

             f. Failing to ensure that all employees and third-parties install the latest software

                patches, update its firewalls, check user account privileges, or ensure proper

                security practices;




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             g. Failing to ensure that all employees and third-parties practice the principle of least-

                privilege and maintain credential hygiene; and failing to avoid the use of domain-

                wide, admin-level service accounts;

             h. Failing to adequately oversee employees and third-party vendors;

             i. Failing to ensure that all employees and third-parties employ or enforce the use of

                strong randomized, just-in-time local administrator passwords; and

             j. Failing to properly train and supervise employees and third-parties in the proper

                handling of inbound emails.

       53.      As a result of allowing its computer systems to fall into dire need of security

upgrading and its inadequate procedures for handling cybersecurity threats, YNHHS negligently

and wrongfully failed to safeguard Plaintiff’s and Class members’ PII.

       54.      Accordingly, as further detailed herein, Plaintiff and Class members now face a

substantial, increased, and immediate risk of fraud, identity theft, and the disclosure of their most

sensitive and deeply personal information.

       F. Data Breaches Are Harmful and Disruptive

       55.      The United States Government Accountability Office (“GAO”) released a report in

2007 regarding data breaches (“GAO Report”) in which it noted that victims of identity theft will

face “substantial costs and time to repair the damage to their good name and credit record.”

       56.      That is because all victims of a data breach may be exposed to serious ramifications

regardless of the nature of the data. Indeed, the reason criminals steal PII is to monetize it because

there is (unfortunately) a market for personally identifiable information, like the PII compromised

by the Data Breach.




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        57.     Cybercriminals do this by selling the spoils of their cyberattacks on the black

market to identity thieves who desire to extort and harass victims, and to take over victims’

identities in order to engage in illegal financial transactions under the victims’ names. Because a

person’s identity is akin to a puzzle, the more accurate individual pieces of data an identity thief

obtains regarding a person, the easier it is for that thief to take on the victim’s identity, or otherwise

harass or track the victim.

        58.     For example, armed with just a name and date of birth, a data thief can utilize a

hacking technique referred to as “social engineering” to obtain even more information regarding a

victim’s identity, such as a person’s login credentials or Social Security number.                 Social

engineering is a form of hacking whereby a data thief uses previously acquired information to

manipulate individuals into disclosing additional confidential or personal information through

means such as spam phone calls and text messages or phishing emails.

        59.     Because of the threat of these harms, the FTC recommends that identity theft

victims take several steps to protect their personal and financial information after a data breach,

including contacting one of the credit bureaus to place a fraud alert (and potentially obtaining an

extended fraud alert that lasts for 7 years if someone steals their identity), reviewing their credit

reports, contacting companies to remove fraudulent charges from their accounts, placing a credit

freeze on their credit, and correcting their credit reports.

        60.     Theft of PII is gravely serious. PII is an extremely valuable property right.

        61.     Its value is axiomatic, considering the value of “big data” in corporate America and

the fact that the consequences of cyber thefts include heavy prison sentences. Even this obvious

risk to reward analysis illustrates that PII has considerable market value.

        62.     According to the GAO:




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       [L]aw enforcement officials told us that in some cases, stolen data may be held for
       up to a year or more before being used to commit identity theft. Further, once stolen
       data have been sold or posted on the Web, fraudulent use of that information may
       continue for years. As a result, studies that attempt to measure the harm resulting
       from data breaches cannot necessarily rule out all future harm.

       See GAO Report, at p. 29.

       63.     Private information, such as the PII compromised herein, is such a valuable

commodity to identity thieves that once the information has been compromised, criminals often

trade the information on the “cyber black-market” for years. The private information of consumers

remains of high value to criminals, as evidenced by the prices paid through the dark web.

Numerous sources cite dark web pricing for stolen identity credentials. For example, private

information (inclusive of a Social Security number) can be sold at a price from $40 to $200, and

bank details have a price range of $50 to $200. Experian reports that a stolen credit card or debit

card number can sell between $5 to $110 on the dark web. Clearly, all this data has real value –

which is why it is often targeted and stolen in the first place.

       64.     Because the PII compromised in the Data Breach has been dumped on the dark

web, Plaintiff and Class members are at a substantial imminent risk of injury including an increased

risk of fraud and identity theft for many years into the future.

       65.     Thus, Plaintiff and Class members must vigilantly monitor their financial accounts

and other indices of identity theft (i.e., the mail, email, etc.) for many years to come.

       G. Harm to Plaintiff and the Class

       66.     Plaintiff suffered actual injury from having his PII compromised as a result of the

Data Breach including, but not limited to (a) misuse of his compromised PII; (b) damage to and

diminution in the value of his PII, a form of property that Defendant obtained from Plaintiff; (c)

violation of his privacy, including the compromise of highly sensitive PII; (d) present, imminent




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and impending injury arising from the increased risk of identity theft and fraud; and (e) actual and

potential out-of-pocket losses including the loss of time, as Plaintiff has spent valuable time

dealing with the repercussions of the Data Breach.

   V.         CLASS ALLEGATIONS

        67.     Plaintiff brings this nationwide class on behalf of himself and on behalf of all others

similarly situated pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal Rules of Civil

Procedure. The “Class” that Plaintiff seeks to represent is defined as follows:

        Class Definition. All persons whose PII was maintained by YNHHS which was
        compromised in the Data Breach.

        68.     Excluded from the Class are Defendant and Defendant’s subsidiaries, affiliates,

officers and directors, and any entity in which Defendant has a controlling interest; and all judges

assigned to hear any aspect of this litigation.

        69.     Plaintiff reserves the right to modify or amend the definition of the proposed Class

before the Court determines whether certification is appropriate.

        70.     Numerosity. Media reports indicate that the Data Breach compromised PII of, at

a minimum, many thousands of individuals. Therefore, the members of the Class are so numerous

that joinder of all members is impractical.

        71.     Commonality. There are questions of law and fact common to the Class, which

predominate over any questions affecting only individual Class members.               These common

questions of law and fact include, without limitation:


                     a. Whether Defendant unlawfully used, maintained, lost or disclosed
                        Plaintiff’s and Class members’ PII;

                     b. Whether Defendant failed to implement and maintain reasonable security
                     procedures and practices appropriate to the nature and scope of the
                     information compromised in the Data Breach;



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                    c. Whether Defendant’s data security systems prior to and during the Data
                    Breach complied with applicable data security laws and regulations;

                    d. Whether Defendant’s data security systems prior to and during the Data
                    Breach were consistent with industry standards;

                    e. Whether Defendant owed a duty to Plaintiff and Class members to
                    safeguard their PII;

                    f. Whether Defendant breached its duties to Plaintiff and Class members to
                    safeguard their PII;

                    g. Whether computer hackers obtained Plaintiff’s and Class members’ PII
                    in the Data Breach;

                    h. Whether Defendant knew or should have known that its data security
                    systems and monitoring processes were deficient;

                    i. Whether Plaintiff and Class members suffered legally cognizable
                    damages as a result of Defendant’s misconduct;

                    j. Whether Defendant’s acts, inactions, and practices complained of herein
                    amount to a breach of contract, and/or common law negligence, and
                    whether Defendant has been unjustly enriched;

                    k. Whether Defendant failed to provide notice of the Data Breach in a
                    timely and proper manner; and

                    l. Whether Plaintiff and Class members are entitled to damages, civil
                    penalties, equitable relief and/or injunctive relief.

       72.     Typicality. Plaintiff’s claims are typical of those of other Class members because

Plaintiff’s PII, like that of every other Class member, was compromised by the Data Breach.

Further, Plaintiff, like all Class members, was injured by Defendant’s uniform conduct. Plaintiff

is advancing the same claims and legal theories on behalf of himself and all other Class members,

and there are no defenses that are unique to Plaintiff. The claims of Plaintiff and those of other

Class members arise from the same operative facts and are based on the same legal theories.




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        73.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Class in that he has no disabling or disqualifying conflicts of interest

that would be antagonistic to those of the other members of the Class. The damages and

infringement of rights Plaintiff suffered are typical of the other Class members, and Plaintiff seeks

no relief that is antagonistic or adverse to the members of the Class. Plaintiff has retained counsel

experienced in complex class action litigation, including, but not limited to, data privacy class

action litigation, and Plaintiff intends to prosecute this action vigorously.

        74.     Superiority of Class Action. A class action is superior to other available methods

for the fair and efficient adjudication of this controversy, as the pursuit of numerous individual

lawsuits would not be economically feasible for individual Class members, and certification as a

class action will preserve judicial resources by allowing the Class’s common issues to be

adjudicated in a single forum, avoiding the need for duplicative hearings and discovery in

individual actions that are based upon an identical set of facts. Without a class action, it is likely

that many members of the Class will remain unaware of the claims they may possess.

        75.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws and the ascertainable identities of Class

members demonstrate that there would be no significant manageability problems with prosecuting

this lawsuit as a class action.

        76.     Adequate notice can be given to Class members directly using information

maintained in Defendant’s records.

        77.     Predominance. The issues in this action are appropriate for certification because

such claims present only particular, common issues, the resolution of which would advance the

disposition of this matter and the parties’ interests therein. Defendant has engaged in a common




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course of conduct toward Plaintiff and Class members.             The common issues arising from

Defendant’s conduct affecting Class members set out above predominate over any individualized

issues. Adjudication of these issues in a single action has important and desirable advantages of

judicial economy.

           78.   This proposed class action does not present any unique management difficulties.


                                               COUNT I

                                           NEGLIGENCE

           79.   Plaintiff repeats and realleges all preceding paragraphs as if fully set forth herein.

           80.   YNHHS knowingly collected, acquired, stored, and/or maintained Plaintiff’s and

Class members’ PII, and had a duty to exercise reasonable care in safeguarding, securing, and

protecting the PII from being disclosed, compromised, lost, stolen, and misused by unauthorized

parties.

           81.   The duty included obligations to take reasonable steps to prevent disclosure of the

PII, and to safeguard the information from theft. YNHHS’ duties included the responsibility to

design, implement, and monitor its and its data security systems, policies, and processes to protect

against reasonably foreseeable data breaches such as this Data Breach.

           82.   Defendant owed a duty of care to Plaintiff and Class members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, policies, and procedures, and the personnel responsible for them,

adequately protected the PII.

           83.   Defendant owed a duty of care to safeguard the PII due to the foreseeable risk of a

data breach and the severe consequences that would result from its failure to so safeguard PII.




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        84.     Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant and those individuals who entrusted

Defendant with their PII, which duty recognized by laws and regulations including but not limited

the FTCA as well as common law.

        85.     In addition, Defendant has a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

        86.     Defendant’s duty to use reasonable care in protecting PII arose not only as a result

of the statutes and regulations described above, but also because Defendant is bound by industry

standards to protect PII that it acquires, maintains, or stores.

        87.     Defendant breached its duties, and thus was negligent, by failing to use reasonable

measures to protect Plaintiff’s and Class members’ PII, as alleged and discussed above.

        88.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class members’ PII would result in injury to Plaintiff and Class members. Further, the breach of

security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in consumer-facing industries and healthcare systems.

        89.     It was therefore foreseeable that the failure to adequately safeguard Class members’

PII would result in one or more types of injuries to Class members.

        90.     The imposition of a duty of care on Defendant to safeguard the PII it maintained,

transferred, stored or otherwise used is appropriate because any social utility of Defendant’s

conduct is outweighed by the injuries suffered by Plaintiff and Class members as a result of the

Data Breach.




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       91.     As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

members are at a current and ongoing imminent risk of identity theft, and Plaintiff and Class

members sustained compensatory damages including: (i) invasion of privacy; (ii) financial “out of

pocket” costs incurred mitigating the materialized risk and imminent threat of identity theft; (iii)

loss of time and loss of productivity incurred mitigating the material risk and imminent threat of

identity theft; (iv) financial “out of pocket” costs incurred due to actual identity theft; (v) loss of

time incurred due to actual identity theft; (vi) loss of time due to increased spam and targeted

marketing emails; (vii) diminution of value of their PII; (viii) future costs of identity theft

monitoring; (ix) anxiety, annoyance and nuisance, and (x) the continued risk to PII, which remains

in Defendant’s and the threat actor’s respective control, and which is subject to further breaches,

so long as Defendant fails to undertake appropriate and adequate measures to protect Plaintiff’s

and Class members’ PII.

       92.     Plaintiff and Class members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       93.     YNHHS’ negligent conduct is ongoing, in that it still holds the PII of Plaintiff and

Class Members in an unsafe and unsecure manner.

       94.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) provide adequate credit

monitoring to all Class Members.

                                             COUNT II

                             BREACH OF IMPLIED CONTRACT

       95.     Plaintiff repeats and realleges all preceding paragraphs as if fully set forth herein.




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       96.     Defendant provides healthcare and similar services to Plaintiff and Class members.

Defendant formed an implied contract with Plaintiff and Class members through its conduct.

       97.     Through Defendant’s individual provision of services, it knew or should have

known that it must protect Plaintiff’s and Class members’ confidential PII in accordance with

Defendant’s stated policies, practices and the applicable law.

       98.     As consideration, Plaintiff and Class members turned over valuable PII in exchange

for YNHHS’ services.

       99.     Defendant accepted possession of Plaintiff’s and Class members’ PII for the

purpose of providing services to Plaintiff and Class members. In delivering their PII to Defendant,

Plaintiff and Class members intended and understood that Defendant would adequately safeguard

the PII as part of the provision or receipt of those services.

       100.    Defendant’s implied promises to Plaintiff and Class members include, but are not

limited to: (1) taking steps to ensure that anyone who is granted access to PII also protects the

confidentiality of that data; (2) taking steps to ensure that the PII placed in control of Defendant’s

employees is restricted and limited only to achieve authorized business purposes; (3) restricting

access to employees and/or agents who are qualified and trained; (4) designing and implementing

appropriate retention policies to protect PII; (5) applying or requiring proper encryption and/or the

separation of different data sets; (6) implementing multifactor authentication for access; and (7)

taking other steps to protected against foreseeable breaches.

       101.    Plaintiff and Class members would not have entrusted their PII to Defendant in the

absence of such an implied contract.

       102.    Defendant violated these implied contracts by failing to employ reasonable and

adequate security measures to secure Plaintiff’s and Class members’ PII.




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        103.    Plaintiff and Class members have been damaged by Defendant’s conduct, including

the harms and injuries arising from the Data Breach now and in the future, as alleged herein.

Plaintiff seeks damages, including restitution, actual damages, nominal damages, and any other

awardable form of damages, in an amount to be proven at trial.

                                             COUNT III

                                    UNJUST ENRICHMENT

        104.    Plaintiff repeats and realleges all preceding paragraphs as if fully set forth herein.

        105.    This count is asserted in the alternative to breach of implied contract (Count II).

        106.    Plaintiff and Class members conferred a benefit on Defendant with their money and

data. Specifically, they purchased healthcare services from YNHHS and, in so doing, also

provided Defendant with their PII. In exchange, Plaintiff and Class members should have received

from Defendant the services that were the subject of the transaction and should have had their PII

been protected with adequate data security.

        107.    Defendant knew that Plaintiff and Class members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the PII of Plaintiff and

Class members for business purposes.

        108.    In particular, Defendant enriched itself by saving the costs it reasonably should

have expended on data security measures to secure Plaintiff and Class members’ PII. Instead of

providing a reasonable level of security that would have prevented the Data Breach, Defendant

instead calculated to increase its own profits at the expense of Plaintiff and Class members by

utilizing cheaper, ineffective security measures. Plaintiff and Class members, on the other hand,

suffered as a direct and proximate result of Defendant’s decision to prioritize its own profits over

the requisite security.




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       109.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff and Class members, because Defendant failed

to implement appropriate data management and security measures that are mandated by industry

standards.

       110.    Defendant failed to secure Plaintiff’s and Class members’ PII and, therefore, did

not provide full compensation for the benefit Plaintiff and Class members provided.

       111.    Defendant acquired the PII through inequitable means in that it failed to disclose

the inadequate security practices previously alleged.

       112.    Had Plaintiff and Class members known that Defendant had not reasonably secured

its PII, they would not have agreed to provide their PII to Defendant.

       113.    Plaintiff and Class members have no adequate remedy at law.

       114.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

members have suffered and will suffer injury, including but not limited to: (a) actual identity theft;

(b) the loss of the opportunity of how their PII is used; (c) the compromise, publication, and/or

theft of their PII; (d) out-of-pocket expenses associated with the prevention, detection, and

recovery from identity theft, and/or unauthorized use of their PII; (e) lost opportunity costs

associated with efforts expended and the loss of productivity addressing and attempting to mitigate

the actual and future consequences of the Data Breach, including but not limited to efforts spent

researching how to prevent, detect, contest, and recover from identity theft; (f) the continued risk

to their PII, which remains in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

PII in its continued possession; and (g) future costs in terms of time, effort, and money that will




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be expended to prevent, detect, contest, and repair the impact of the PII compromised as a result

of the Data Breach for the remainder of the lives of Plaintiff and Class members.

          115.    As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

members have suffered and will continue to suffer other forms of injury and/or harm.

          116.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class members, proceeds that Defendant unjustly received

from them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff

and Class Members overpaid for YNHHS’ services.

    VI.        PRAYER FOR RELIEF

          117.    WHEREFORE, Plaintiff, on his own behalf and on behalf of all others similarly

situated, prays for relief as follows:

          A.      For an Order certifying this case as a class action and appointing Plaintiff and his

          counsel to represent the Class;

          B.      For an award of actual damages, compensatory damages, statutory damages, and

          nominal damages, in an amount to be determined, as allowable by law;

          C.      For injunctive and other equitable relief to ensure the protection of the sensitive

          information of Plaintiff and the Class which remains in Defendant’s possession;

          D.     For an award of attorneys’ fees and costs, and any other expense, including expert

          witness fees;

          E.      Pre- and post-judgment interest on any amounts awarded; and

          F.      Such other and further relief as the Court may deem just and proper.

    VII.       JURY TRIAL DEMAND

          118.    Plaintiff hereby demands a trial by jury on all claims so triable.




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DATED: April 17, 2025               Respectfully submitted,

                                    /s/ Israel David

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                                 Attorneys for Plaintiff and the Proposed Class
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was electronically served

through the CM/ECF system on this 17th day of April, 2025.

                                                          /s/ Margaret Donovan
                                                          Margaret Donovan, Esq.




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